Case 1:22-cv-00080-TSK Document 21 Filed 12/11/22 Page1of3 PagelD #: 75

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

STEVEN BROWN; BENJAMIN WEEKLEY;
SECOND AMENDMENT FOUNDATION; and
WEST VIRGINIA CITIZENS DEFENSE LEAGUE

Plaintiff(s),

 

 

 

% Civil NO: 1:22-cv-00080
THE BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES;

STEVEN DETTELBACH, in his official capacity; and
MERRICK GARLAND, in his official capacity

Defendant(s).

 

 

 

APPLICATION FOR ADMISSION PRO HAC VICE

I verify that Ihave fully complied with Local Rule of General Practice and Procedure 83.02 as
it relates to admission to practice pro hac vice.

 

 

 

Michael Patrick Clendenen Bureau of Alcohol, Tobacco, Firearms and Explosives; Steven Dettelbach; Merrick Garland
Applicant’s Name Representing (Party Name)
United States Department of Justice 1100 L Street NVV, Room 12028, Washington, DC 20005
Name of Firm Office Address
(202) 305-0693 (202) 616-8460
Office Telephone Number Office Fax Number

michael.p.clendenen@usdoj.gov

E-mail Address

 

Name, Address, and Telephone Numbers of State Bars in which admitted:

District of Columbia Bar (Bar Number 1032962)
901 4th Street, NW, Washington, DC 20001
(202) 737-4700

 

 

 

 

List all matters before West Virginia tribunals or judicial bodies in which the applicant is or has been
involved in the preceding twenty-four (24) months:

 

 

 

PROVIDE ATTACHMENT WITH ADDITIONAL INFORMATION IF NECESSARY
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partnership or corporation is or has been involved in the preceding twenty-four (24) months:

 

 

 

PROVIDE ATTACHMENT WITH ADDITIONAL INFORMATION IF NECESSARY

I understand that admission to practice pro hac vice will result in my registration in the Case
Management/Electronic Case Filing system. By this registration, I agree to abide by the requirements
set forth in the Federal Rules, Federal Statutes and the Local Rules, Administrative Orders, procedures
and policies of the United States District Court for the Northern District of West Virginia. (See
https://racerweb. wvnd.uscourt.gov for further information).

I understand that attorneys admitted pro hac vice will have privileges to view official docket
sheets and documents associated with cases and query case reports for cases on the CM/ECF system
using the Court-assigned read only login and password, and that I must submit all filings electronically
through local counsel. Registration constitutes my consent to service by electronic means pursuant
to the Federal Rules.

I understand that as a lawyer employed by the Department of Justice, lam exempt from paying
the fee payable to the Clerk of the Court of the United States District Court for the Northern District
of West Virginia, that is normally required for pro hac vice applications.

I certify that the foregoing application is true and correct. I hereby represent that I am a
member in good standing with the bar of every jurisdiction in which I am admitted and my privileges
to practice law and my membership in any bar association have never been amended, modified,
suspended, revoked or otherwise limited in any way in any court, district, state, commonwealth or other
jurisdiction. [also certify that Ihave never been convicted of a felony. Lagree to comply with all laws,
rules, and regulations of the United States Courts where applicable.

If unable to make the above representation, please attach an explanation.

 

 

 

Jl Wk
Signature of Applicant
Maxi mM lian F . N ogay United States Department of Justice, United States Attomey's Office
Name of Responsible Local Attorney Name of Firm
(304) 234-0100 P.O. Box. 591, 1125 Chapline Street, Suite 3000, Wheeling, WV 26003
Office Telephone Number Office Address

(304) 234-0110

E-mail Address

 

Pursuant to Local Rule of General Practice and Procedure 83.02, I have read the foregoing
application and, by my endorsement hereon, agree to be a responsible local attorney in the above-styled
matter. I further certify that Iam an active member in good standing of the West Virginia Bar and that
I maintain an actual office in West Virginia from which I practice law on a daily basis.

Hl fo

Signature of Responsible Local Attorney
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Plaintiff(s),

 

 

 

Vv. Civil NO; 1:22-cv-00080
THE BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES;

STEVEN DETTELBACH, in his official capacity; and
MERRICK GARLAND, in his official capacity

Defendant(s).

 

 

 

ORDER

Upon consideration of the foregoing Application for Admission Pro Hac Vice of
Michael Patrick Clendenen , it is ORDERED that the Application for
Admission Pro Hac Vice be, and the same is hereby, APPROVED and that the applicant may
appear pro hac vice in this matter on behalf of the represented party.

 

ENTER:

 

United States District Judge
